91 F.3d 136
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Danny Lamont YARBOROUGH, Plaintiff--Appellant,v.Kristin PARKS;  Michael S. Hamden;  North Carolina PrisonerLegal Services, Incorporated, Defendants--Appellees.
    No. 96-6215.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 20, 1996Decided:  July 9, 1996
    
      Danny Lamont Yarborough, Appellant Pro Se.
      Before HALL, WILKINS, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing his 42 U.S.C. § 1983 (1988) complaint under 28 U.S.C.A. § 1915(d) (West 1994).  We have reviewed the record and the district court's opinion and find the appeal to be frivolous.  Accordingly, we affirm on the reasoning of the district court.  Yarborough v. Parks, No. CA-96-31-5-H (E.D.N.C. Jan. 26, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    